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                                                                      U.S. DISTRiCT COURT
                                                                          BRUNSWICK DIV,
PS 41

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                         UNITED STATES PRETRIAL SERVICES                      22 p|^ ]: 54

                                                                      SO. DiST. OF(G'A.
                                         PASSPORT RECEIPT




NAME Andrew Jackson - #4635283                      PASSPORT NUMBER


DATEREC'D 03/22/2018                                COUNTRY OF ORIGIN O'CLlH

                                                    EXPIRATION DATE    ^11^1 Z OZ Q

                            Rule 5-In docs FLM to
                      GAS / Shen-y Taylor,
®EP^mtfPS^ItjNATTO&--Deputy in Charge               OFFICER'S SIGNATURE

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DATE RETURNED                                       REC'D BY _

                                                    REC'D FROM


PURPOSE RETURNED


ADDRESS (if mailed)
